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                       IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

TONI MARLENE CARTER,                                 CASE NO.: 6:17-cv-00653-GAP-DCI

        Plaintiff,

vs.

PROG LEASING, LLC,

       Defendant.
__________________________________/


               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure , the parties hereby

dismiss the above-entitled action and all claims asserted in the action with prejudice. The parties

agree to each bear their own fees and costs.

       Respectfully submitted,

  BOSS LAW                                         BALLARD SPAHR LLP

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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 5th day of July, 2018, I electronically filed the
foregoing document with the Clerk of Court using CM/ECF. I also certify that the foregoing
document is being served this day on all counsel of record or pro se parties either via transmission
of Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for
those counsel or parties who are not authorized to receive electronically Notices of Electronic
Filing.

                                             /s/ Christopher W. Boss
                                             Christopher W. Boss, Esq.
